              IN THE IOWA DISTRICT COURT IN AND FOR LINN COUNTY


THEODORE BELL,
                                                     CASE NO.
               Plaintiff,

VS,                                                   ORIGINAL NOÏICE


ARCHER-DANIELS,M IDLAND
COfu1PANY,

               Defendant,


TO:    THE ABOVE-NAMED DEFENDANT

       YÒu áre notified there is   a Petit¡on at Law and Jury Demänd Òn file in fhe office ôf the

clerk of the above court. A copy of this fìlíng is attached. The Plaintìffs atlorney ¡s Thomas J.

Currie, Currie & Liâbo Lâw Firm, whose address is 1853 51r Street NE, Suite 1, Cedar Rapids,

lA 52402. The Plaìntiffs     atlorney's phone number ¡s (319) 826-3781, with          a   facsim¡le

lransmission number of (319) 774-5638,

       You must serve a mot¡on or answer w¡thin 20 days after service of this Original Notice

upôn yôu and within a reasonable time thereafter, f¡le your molion or answer in the lowa District

Court fÖr Linn County, at the couniy courthouse in cedar Rapids, lowa. lf you do not,
judgment by default may be rendered against you for the relief demanded in the petifìon.

       lf vou require the assistanôe of auxiliary aids or services to Þarticipate in court becaugoì
of a disabilitv, immediatelv call you!',. district ADA coordinalor at 563-589-4448. (lf¡Vou alÉ
tre.r¡;o imÞaired. call Relã; lÒta                                                  -FF)- c?          :Ü
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                                IMPORTANT
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                                            EXIÌIBIT A



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STATE OF IOWA                              JUDICIARY                            c*"¿',," LACV0BIB30
                                                                                couniy Linn

CSSE   7iUê   THÊODORE BELL VS ARCHER DANIELS MIDLAND CO

    THIS CASE HÀS BEEN FILED IN À COUNTY THAT USES ELECTRONIC FILING.
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exc¡Ìp{ion lrorn the court, you musl frl€ yoLrfAppe¿¡añce and Answer eleciron¡ç€lly,

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FOR GENERAL RULES ÀND INFORMATION ON ELECTRONIC FILING, REFER TO IHE IOWA COURT RULES CHAPÍER
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                   E-FILED 2014 OCT   '10   9:11 Al\4 LINN - CLERK QF DISTRICT COURT




              f   N THE IOWA DISTRICT COURT IN AND FOR LINN COUNTY



THEODORE BELL,
                                                           CASE NO.
                  Plaintiff
                                                           PETITION AT LAW AND JURY
VS,                                                        DEMAND


ARCHER-DAN I ELS.M IDLAND
COMPANY,

                  Defendant.


       COMES NOW the Plaintiff, and for his cause of action against Defendant states

as follows:

       1.         At all times mater¡al hereto, Plaintiff was a resident of Marion, Linn

County, lowa.

       2.         At all times material hereto, Defendanl was a Delaware corporatìon with

its principal place of business in llìinois, and was doing business in the State of lowa

       3.         On or about March 14, 2013, Plaintiff filled out an employment application

to work at Defendant's plant in Cedar Rapids, lowa, seeking a wet mill utility position,

       4.         On or about March 28, 2013, Plaintiff had a telephone interview for the job

position.

       5.         On or about April 1 2, 201 3,   P   laintiff had an in-person inte rview for the job

position.

       6.         On or about April 30, 2013, Defendant extended, via telephone, a

conditional offer of employment to Plaintiff, conditioned upon completion of passing of a

background check, drug screen, and pre-employment physical.




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       7   .   On or about May 2,2013, Plaintiff had a "post-employment physical" by

Dr. Jeffrey Wesfpheling.

       B.      On or about May 2,2013, Dr. Westpheling concluded Plaintiff was not

functionaily capabfe of pedorming the essential functions of the job position sought by

Plaintiff, ostensibly because P[aintiff has a seizure disorder,

       9.      Plaintiff's seizure disorder is controlled by medication, and Plaintiff has

had no symptoms related to his seizure disorder for at ieast 22 years.

       10.     Defendant refused to hire Plaintiff because of a disability, or perceived

disability, namely Plaintiff's seizure disorder,

       11.     Defendant's refusal to hire Piaintiff constitutes illegal discrimination based

on disability, or perceived disability, in violation of the lowa Civ¡l Rights Act.

       12.     Defendant's refusal to hire Plaintiff constitutes iflegal discrimination based

on disabilíty, or perceived disability, in violation of the Americans w¡th Disabilities Act.

       13,     The conduct referred to in Paragraphs 11 and 12 constitutes intentional

discrimination subjecting Defendant to liability for punitive damages under the law,

       14,     Plaintiff has exhausted his administrative remedies, and has obtained a

rightto-sue letter from the lowa Civil Rights Commission, See Exhibit "4", attached

hereto and by this reference made a part hereof.

       15.     As a result of Defendant's illegal discrimination, Plaintiff has suffered

damages including, but not limited to, past and future lost wages, and past and future

loss of employment benefits, which damages exceed the jur¡sdictional requirements of

Rule 6.3, lowa Rules of Appellate Procedure,




                                                     2



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               E-FILED 20'14 OCT 10 9:11 AIV LINN - CLERK OF   Df   STRICT COURT




       WHEREFORE, Plaintiff demands judgment against Defendant for a fair and

reasonable amount of compensatory clarlages, which damages exceed the

jurisdictional requirernents of Rule 6.3, lowa Rules of Appellate procedure, for punitive

damages as provided by law, for interest as providecl by law, for attorney fees as

piovided by law, and for the costs of this action,

                                     JURY DEMAND

       Plaintiff hereby demands a trial by jury in the above-captioned matter,




                                          CUR                            RM, P.L.C.



                                   By:
                                                                      ,--"
                                                                       4T0001817
                                          1853 5           NE, Suite 1
                                          Cedar        , tA 52402
                                          Ph.: (31   826-3781
                                          Fax: (3    774-5638
                                          E-mail:               iabo.com

                                          ATTORNEY FOR PLAINTIFF




                                            3



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                         E-FILED 2014 OCT 10 9:11 AM LINN - CLERK OF DISïRICT COURT
                                T;::
                                           Administrat¡ve Release
                                           (Letter of Right-To-Sue)


To:                                                      From


MR. THEODORE BELL                                        lowa Civil Rights Commission
2325 24TH AVE                                            Grimes State Office Building
MARION. lA 52302                                        400 E.   141h   Street
                                                         Des             lowa 50319
ComplaintCP#01-14-65309 EEOC#26A-2014-00341Ç

This is your Administrative Reìease (Right-To-Sue) Letter issued pursuant to ìowa Code Section
216.16and 161 lowa Administrative Code Section 3.10. lt is issued pursuant to the Complainant's
request.

The following conditions have been met:

      1.   The complaint was t¡mely filed with the lowa Civil Rights Commission (ICRC) as provided in
           lowa Code Section 216.15(12);

      2.   Sixty (60) days have expired s¡nce the complaint was filed with ICRC;

      3.   None of the exceptions set forth in Administrative Rule 161    -   3.10(4) are applicable.

With this Administrative Release, the Complainant has the right to commence an action in district
court, That action must be commenced within ninety (90) days of the issue dale 711712014. The
Right-to-Sue Letter is not a finding by ICRÇ on the merits of the charge. ICRC will take no furfher
actions in this matter.

A copy of this Administrative Release/Letter of Right-To-Sue has been sent to the Respondent(s) and
counsel(s) as shown below. The Code allows any party to obtain a complete copy of the case file
after a Right-To-Sue has been issued. Requests for copies should be directed to Annette Flaherty at
ICRC,


The lowa Civil Rights Commission
Phone: (515) 281-4121
FAX: (515) 242-5840

cc: File
      THOMAS J, CURRIE, Complainant's Attorney
      KIMBERLY RYKHUS, Respondent's Attorney
      ARCHER DANIELS [/lIDLAND
      ARCHER DANIELS MIDLAND CO, CORP.

rcRc/s36 (24)


                                                  Exhibit A
                  Case 1:14-cv-00121-LRR Document 1-1 Filed 11/14/14 Page 6 of 7
                         E-FILED 2014OCT1710:01 AM LINN - CLERK OF DISTRICTCOURT


  RETURN OF SERVICE

  In the lowa District Court For LINN COUNTY
  Case Name           THEODORE BELL
          VS
                      ARCHER DANIELS MIDLAND COMPANY

  Case   No.:  LACV081830Sheriff's Fìle No.: 14020978
                  :
  Notice rec'd 1011412014

  STATE OF |OWA POLK COUNTY ) SS.
  I certify   that I served a copy of   :   ORIGINAL NOTICE/PETITION/JURY DEMAND
  to  ARCHER DANIELS MIDLAND COMPANY TYPE Of SETV|CC: COMPANY
  REPRESENTATIVE
  by delivering a copy     to:   LAURA GRAHAM

  a person at least'18 years of age described as AGENT AUTHORIZED TO ACCEPT

 Address of service: %CT CORP 400 E COURT AVENUE #l 1 0 DËS MOINES, lA 50309

  Date and time of service: 1011612014 10:15 AM
  Trips:


  Comments


  FEES:
IVIILEAGE FEE ($1,1 2)
                                                  BILL   MCCARTHY Sheriff
PROCESSING FEE ($3o.oo)
Total:$31.12
                                                                  Polk County, lowa

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                                                  ¿0V
                                                  ELIZABETH O'BRIEN Deputy/Server




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